   Case 1:21-cr-20406-KMW Document 16 Entered on FLSD Docket 08/18/2021 Page 1 of 7



(Revised03/2020)

                                  UNITED STA TES DISTRICT COUR T
                                  SOU THERN DISTRICT OF FLOIUDA

                            APPEARANCE BOND :

                             CASE N O .: 21-20406-C r.-W iIIiam sN cAliIev


UN ITED STATES OF A M ERICA:
                     Plaintiff,
                                                           U SM #:

NAM ANW AKIL

                     Defendant,


1,theundersigned defendantandIorwe,the undersigned sureties.jointly andseverally acknowledgethatweandour
personalrepresentatives.jointly and severally,areboundto pay theUnited StatesofAmerica,thesum of
$ 50,000,000.00. Of this $50,000,000.00.$21,248,434.25 shall be deposited with the Clerk ofthe Court.

                                  STANDAR D CONDITIONS O F BOND

The conditions ofthis bond are thatthe defendant:

    1. Shall appear before this Courtand at such other places as the defendant m ay be required to appear, in
accordance with any and a11orders and directions relating to the defendant's appearance in this case,including
appearance forviolation of a condition ofthe defendant's release asm ay be ordered or notified by this Courtor
any other United StatesD istrictCourtto which the defendantm ay be held to answ er orthe causetransferred.The
defendantis required to ascertain from the Clerk of Courtordefense counselthe tim e and place of all scheduled
proceedings on the case.ln no eventmay a defendant assum e thathis or her case has been dism issed unless the
Courthas entered an order of dismissal.The defendant is to abide by any judgmententered in such matter by
surrendering to serveany sentence imposed and obeying any orderordirection in connection with suchjudgment.
Thisisa continuing bond,including any proceeding on appealorreview swhich shallrem ain in fullforce and effect
untilsuch tim e astheCourtshallorderotherw ise.
    J. M ay nottraveloutside the Southern D istrictofFlorida unless otherw ise approved by the Courtpriorto any
such travel.The Southern DistrictofFlorida consists ofthe follow ing counties:Brow ard,Highlands,lndian River,
M artin,M iam i-Dade.M onroe.Okeechobee,Palm Beach and St.Lucie.

    3. M ay not change his/her present address withoutprior notification and approval from the U.S.Probation
Officerorthe Court.
    4. M ust cooperate with law ' enforcem ent officers in the collection of a DN A sam ple if the collection is
required by 42 U.S.C.Section 14135a.
       M ustnotviolate any federal.state orlocallaw while on release in this case.Should the defendantcom e in
contactwith 1aw enforcementhe/she shallnotify the U.S.Probation Officerwithin 72 hours.
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                                                               DEFENDANT:NAM AN W AK I1,
                                                               ('
                                                                .ASE NUM BER:21-20406
                                                               RNG E TW O


                                      SPEC IA L CO N DITIO NS O F BO N D
I1,
  1addition to connpliancc hvith tllc prcviotlsly statctl conditions ol-bond,thc dcfendant l-
                                                                                            nustcom ply with thc
specialconditi-ons cllecked bclow :

   X a.SurrenderaIIpassportsand traveldoctlments.if'any.to PretrialServices and notobtain any travel
     docunxentsduring the pendenc'y ofthe casc:
   X b.Repol-
            tto PrelrialSela/icesasfollows:(X)asdirectedor tilnets)aweek inpersonand                     tilnets)aweekby
      telephone;
    c.Subm itto stlbstanceabtlsetcsting and/ortrcatm ent-contribute to the costofservicesrendered based on ability
      to pay,as detelmnined by the L.
                                    r.S.Probation lll-f-icel-:
       d.Refrain f-rom . excessive (lR abslain froln alcohol use or any use of-a narcotic drug or other controlled
                                          -
         substance.asdel-illed inset-tioT)102oftheColltrolled SubstancesAct(2lU.S.C.%
                                                                                    s802).vvithoutaprescription by
       a licensed m edicalpractitionel':
    t'.Participatc in a nlcntalllealth asscssm cl:talld/ortrcatnlcn!and contlibtltc to the costs ofscrviccs rcndcrcd
       bascd on abili!y to pay.asdetelnnincd by thc L:.S.Probation O f'
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               nentrestricti(1n(s,:                                                                  .
    g.M aintain oractively seek tblI-tilne ennploylnelll:
    h.M aintain orbegin an educatitpnalprogral-    n:
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      i.A void alIcon t
                      ac t w  ith q
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                                      n ns orw i
                                               tn essestt'the erilnescharged,exeeptthrough counsel.The AUSA shall
       provide defellse ctltlllsel ilnd pretrial services Svith tlle nam es of a11 victims or witnesses.The prohibition
       against contacldoes nottake effect untildefcnse cotlnselreceives the list.The prohibition against contact
         appliesonly t()those perstlnstlnthelist.butthc prosectltorlnay expand the Iistby sending u'ritten noticeto
                                                                      ,

         defense counseland pretl-ialservices--
                                              .
    1.Avoidallcontacth?ithctl-defendantsanddefkndantsinrelatedcases,exceptthrotlghcounsel;
         k.Reû-ainfrom possessingitGrearm,destructivcdeviceorotherdangerousweaponsandshallsurrender(if
         anyl,theirconcealed weaptlngperm itt()theLI.S.ProbationOffice'
                                                                      ,
   X 1.None of-the signatories llla) sell.pledgc.m ongage.hypothecate.enculmber.etc..any realproperty they
     -

      ovvnqtlntiIthe btlnd isdischarged.orotherwzise lnodi15ed by the Court-           .
   X 111.slay nolvisi!coallncrclajtransportation cslablishlucnt:airports.scaport/lnarinas.colnlncrcialbus
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    n.Defendantshallconsenll(1tlle U.S.Probation (lflicercondueting periotlic unannouneed exalminationsofthe
       defkndant-su'tlllpulel-eqtlijllllk?n!111l-
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                                                              1thecolnputerts)and any internal01-externalperipheralsto
          ensure colnpliancew itllthiscondition and/orl-elllt'valofsuch equipluentfbrthepurposeof-conducting a more
          thorough inspection-.and consentatthedirection t'l-theU .S.Probation Officertohave installed on thedefendant's
          colnputerls).althedelkndant-sexpense.anyhardwareorsoftwaresystelnstolnonitorthedefendant-scomputer
          tlSe;
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                                                               DEFEN DANT:NA M A N W AK I1.
                                                               C ASE NUM BER:21-20406
                                                               PAG E TH REE


X o.LOCATIO S S4ONITORIN           .G PROGRAS1:Tlle delkndantshallbe monitored by the fbl-nloflocation
  m onitoring and sllallabideby aI1technology I   'cquircm ents asnoted below .asw ellascontribute to the costsof
  servicesreatlcrcd bascd (,,1f )ability to pay:1sdetermincdbytheU.S.ProbationOff-      icer- or- ()paid by
  U.S,Probation:
      Location l'
                nollitoring tecllnology atthc discrction ofthc off  iccr
      Radio Frcclucncy (RF)lutlnitoring(ElcctronicM onittlring)
    X A ctive (iPS M onittll -ing
      Voice Recognition
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      officer.
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       X Holme Detention:Y tptlare l-estricted to yourresidence ata1ltil-
                                                                        nesexcept
         tbr:(X )medicai
         ( )substance abuset)I-lncntalIlcaltlltrcatlllcnt
         (X )cotlrtappearances
         (X)attorney visitsorciltlrtordered obligatitlns
         (X)religiotlsserviccs
         ()cnnploylncnt
         (X)otlleraetikitiesaspre-approN.ed bythesupcrvisingof- licer
     p.RESIDENTIAL RE-ENTRY CENTER:Tlle defendantshallreside ata.residentialre-entry centeror
       halfway hotlse and abide by alIthe rulesand regulationsofthe program.The costto bepaid by (lpretrial
       Services or ( ) based tlll the defendant's ability to pay. You are restricted to the residelltial re-entry
       center/halfvvay l'
                        louse a::111!iI
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                                      nes exceptl
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       (   )cnlploylllcnt
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       (   )religiousservices
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       (   )attorne) %.isits
       ( )courtappcaranccs
       ( )courtordcrcdobligations
       ( )reporting to PretrialServices
       ( )Othcr
     q.Third-party C'tlstody:                                           Nvillserveas a third pal-ty custodian and w ill
       repol-tany violations oI'tlle relcase conditions to the U .S.Probation Officer.Faiiure to com ply w ith these
       requirelnents.tllc tllird Ilarty custodial)cal,be subjectto the provisions of l8 U.S.C.j 401.Contelnptof
       Coul-t.
     r.The detkndalltshallsublllilhis perstlll.propel -ty.residence,vehicle.papers-col,nputers-(as defsned in l8
'-     U.S.C. l030(e)(l)).otherelectronic ctllulnulpication ordata storage devices ornledia,or offsce,to a search
       conducted by a United Stales Probation O ftscer.The defendant nRust urarn any other occupants that the
       prelnises1-
                 n:
                  1ybestlbjectl()searclltrsptlrsuantt$'thiscondïtion.Anysearchnlustbecondtlctedatareasonable
       tinAe and in a l-eastJnable Illllnner.
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                                                                 DEFENDANT:NAM AN W AK II,
                                                                 CASE NtIM BER'
                                                                              :21-20406
                                                                 PAG E FO UR


    s. M andatorl' Adam W 'alsh C onditions: llelklldallt shall abidc by spccified rcstrictiuns on pcrsonal
 associations. place o1-abode.or travcl. ltlavtlitlallcolltact uzith an allcgcd victilll ol-the crinlc and hvitlla
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 Inonitoring)andrcfrainti-oll)possessing at-ircarln.destructivcdeviccorothcrdangcrousw'capons.
 t.AdditionalSex O ffense C'onditions For Det-          endants Charaed orConvicted ofa SexualO ffense'           .
           ( ) Detbndant!-       ,1:1/-nltthaT'econtactlvithv-ictiluts).oranychild undertheagetAf 18,tlnlessapproved
                 by theCourtoralloured bytheU.S.ProbationOfficer.
              )The detkntlalltshallnotpossess ol-useany data encryption technique orprogranland shall
                  prtlvide passwtlrtlsand adnpinistl'       ative rights to the U.S.Probation Oftscer.
              )Delblldantshallparticipate il)specialized sex offenderevaluation and trcatlnent.if-necessary.
                  al'!d to contrlbtlle tothecostso(-servicesrendered based on ability to pay.asdeterl-             nined by
                  the U .S.Probation O flice.
       4.      )Def-   endanlsllallnotpossess.proctkre.ptlrchase orotllerw iseobtain any illternetcapable device
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                  orsociallnedia accoullt.M ustprovidc lllonthly orupon request.personalphone alld creditcard
                  bi11iylgs to Pl-tttl-iaIServiccs lo collf5r1-   1-
                                                                   1there are l)o services Nvith any intelmetservices provider.
               )I.lefcndantis notpcnnitted to cntcrplaces vvhcrc children congregatc including,btltnotlinnitcd
                  tt'any play tlrcas.playgrounds-librarics.childrcn-thcnled restaurants.daycares,schools,
                  anAuscnlcntparks.can:ivals/lkirs.unlcssapproved by thc U .S.Probation Officer.
        7. ( )'l'I  lc defendalltshallnolbc involved in any cl             lildrcn'soryouth organizations.
        8. (   ) I lef  bl lda nlis  prohi bi ted t
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        9.     )Thc      dcfcndal'  ltshallparticipatc in ilTnainlcnancc polygraph cxalnination to pcriodicalIy
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 X v.Colnplyqvilh tllc f
                       blloNvingadditionalconditiensof-bond: (I)Thc Dctkndantshallnotuscorattcnlptto
  use any private aircrafi,al-
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  $21.300,000.0()cashportitlypl)fthisbontltjsinglyll('ftheproceedsfronnhisjointaccountNvithhisvvitk
  (lngrid)atReyltlverscas(Accl/   ,t336315):(3)TlleDefendantshallcausea1lfundsinhisBlife-saccountat
  ReylO verseas (- Acc# 736l)t(?l7e depositetlin :,lnonitored interestbearing bank accotlntin the United States.
  RossG affney shallbe the lllonitorofthe accoulltand shallhave sole signature atlthority overtheaccount.
  W llile thiscase ispending.tle ftlnds in lhe 111011ittprcd accountshallbe used solely forordinary living
  expensesforM l-.W'akiland llistbluily (ineluding schooltuition payluent)and legalexpensesforthiscase.
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                                                              DEFENDANT:NA51AS W A K IL
                                                              CASE NUM BER:21-20486
                                                              PAG F FIV E
                     PEN ALT IES AN D SAN CTIO NS A PPLIC ABLE TO DEFEN DA NT

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          nprisonlnent o1  -not lntlrc tllan one yeal-. i1-the offense is a rnisderneanor.This sentence shall be
consectltive to any olhersentenct-and lnustbc ilnposetlin addition to thesentence received 1brthe offense itself.

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jI512 lnakes ita felony criluillaltlffbnse punishable by ilnprisonmentand a $250.000 tine to tal
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and a$250,000 f'snet('retaliateagainstawitness.viclim (1!.intllrluant,orthreatento do so.
        Itisa criminalofttnnse under 18 U.S.C-.s    %3146.ifafterhaving been released,the defkndantknowingly
f'
 bils to appear as reqtlired by tile ctdnditions ofrelease.01-to stlrrenderforthe service ofsentence pursuantto a
coul-tol-der.Ifthe defendantw'lls I'eleased in connectitpn w ith a charge of.orw hiIe awaiting sentence.sun-ender
forthe sel-vice ofa senlence.orktppealt)rcertiorarial'   -
                                                         tel'cllnviction f01-:

     (l)an offense ptlnishable by death.life ilnprisonluent.01-il-
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        the delkndanlsllallbe l-illetlnotl'
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                                             e than $250.000 orilnprisoned fornotm ore than ten years,t
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     (2)anoffense ptlnishable by illprisonlmelltfbr11ten'
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                                                                                                ifteen years.the
        defendantshallbeGnetlllt'!npore than$250.()()t)(11.ilmprisoned fornotmore ti  pantiveyears.o1  -both;
     (3)any othertblllny.thcdctbndantshallbe fsncd ntltlnorcthan $250,000 orilnprisoned notmore than two
         years,orboth:
     (4)al'
          nisdelmeanllr.thedet-
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         year.orbolh.

        A terln ofinlpristlnlnent1lnptdsedftlrtki1uretttllppearorsuln-endershallbeconsecutivetothesentenceof
inpprisonlnentforany otherilftkllstl.l1-1addititln.a faiItlre to appearlnay resultin the tbrfeiture ofany bailposted.
which m eans thatthe detkndantq'illbe tlbligated lo plly lhe ftllIalmotlntofthe bond.u'hich Inay be enforced by
alIapplicable Iaw s(,fthe United Stales.
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                                                                                  DEFENDANT:NAM AN W AM L
                                                                                  CASE NUM BER:21-20406
                                                                                  PAG E SIX

                                PEN ALTIES AND SA NCTIO NS APPLICA BLE TO SU RETIES
    Violationby thedefendantofany oftheforegoing conditionsofreleasewillresultin an imm ediateobligation by thesurety orsureties
    topaythefullamotmtofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialoffcer
    ofanyUnitedStatesDistrictCourthavinjcogljzanceoftheaboveentitledmatteratthetimeofsuchbreach,andifthebondisforfeited
    andthe forfeitureisnotsetaside orremltted,Judgmentmay beenteredupon motion in such United StatesDistrictCourtagainsteach
    suretyjointly and severally fortheamountofthebond,togetherwith interestand costs,and execution may beissuedandpayment
    securedasprovidedbytheFederalRulesofCrim inalProcedureandotherlawsoftheUnitedStates.
                                                                       SIGNATIJRES
    IhavecarefullyreadandItmderstandthisentireappearancebondconsistingofsevengages,orithasbeenreadtome,and,ifnecessary,
    translatedintomynativelanguage,andIknow that1am obligatedby law tocomplywlth allofthetermsofthisbond.1promiseto obey
.   allconditionsofthisbond,to appearin courtasrequired,and to surrenderforservice ofany sentence imposed.Imn aware ofthe
    penaltiesandsanctionsoutlinedinthisbond forviolationsofthetermsofthebond.
    lflam an agentactingfororonbehalfofacorporatesurety,Ifurtherrepresentthatlam adulyauthorizedagentforthecoporatestlrety
    andhavefullpowerto executethisbond in theamountstated.
                                                                       D EFENDA NT
    signed this    1A.F'
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    SignedàndacknoFledgedbefore e:                                        DEFENDANT:(Signature)
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                                                                 C ORPOR ATE SUR ETY
    Signed this             âay of                               ,20       at                         .Florida
    SURETY:                                                                AGEXT:(Signature)
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Case 1:21-cr-20406-KMW Document 16 Entered on FLSD Docket 08/18/2021 Page 7 of 7




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